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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE

                                             )
In re:                                       )   Chapter 11
                                             )
PRIME CORE TECHNOLOGIES INC.,                )   Case No. 23-11161 (JKS)
et al.,                                      )
                                             )   (Jointly Administered)
             Debtors.                        )
                                             )   Re: Docket No. 325


   DECLARATION OF KATHRYN S. DIEMER, ESQ. IN SUPPORT OF
     OPPOSITION TO DEBTOR’S MOTION FOR ENTRY OF AN
     ORDER DIRECTING WITNESS TO (I) SIT FOR A RULE 2004
         EXAMINATION, (II) PRODUCE DOCUMENTS, AND
       (III) PROVIDE SWORN INTERRGATORY RESPONSES
              IN RESPONSE TO RULE 2004 REQUESTS

  1.     I, Kathryn S. Diemer, Esq., hereby declare as follows:

  2.     I am an attorney licensed to practice in the state of California. I am a

         partner in the law firm of Diemer & Wei, LLP, counsel for Alec Gorge. I

         am personally familiar with the facts of this case, and if called upon, could

         and would testify to the matter identified herein based upon personal

         knowledge, except for those matters pled on information and belief.

  3.     Mr. Gorge received a letter from Mr. Evans, on August 18, 2023. A true

         and correct copy of the letter, with attachments redacted to conform to the

         redactions in the pleadings filed by Debtor with the Court is attached

         hereto as Exhibit 1.

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4.   Attached hereto as Exhibit 2 is a true and correct copy of the subpoena

     which Mr. Evans attached to the August 18, 2023, letter, identifying areas

     of oral testimony.

5.   Mr. Gorge engaged Diemer & Wei, LLP in late August 2023.

6.   I contacted Mr. Evans, counsel for the Debtor, and indicated that I was

     representing Mr. Gorge in the matter.

7.   Attached hereto as Exhibit 3 is a true and correct copy of the email which

     I sent to Mr. Evans and Ms. Greer on September 7, 2023, indicating that

     Mr. Gorge would stipulate to an agreed upon date for oral examination

     once the parties reached an agreement for a stipulated order.

8.   Attached hereto as Exhibit 4 is a true and correct copy of the email which

     I received from Debtor’s counsel wherein they insisted that they would not

     agree to a date for Mr. Gorge’s 2004 examination until such time as Mr.

     Gorge provided “sworn Interrogatory responses” and responded to the

     request for production of documents.

9.   Attached hereto as Exhibit 5 to this declaration are several emails, dated

     September 12, 2023, September 14, 2023, October 4, 2023, in which I

     provided to the Debtor the law, and the facts supporting Mr. Gorge’s

     position that as a third party witness, discovery should be limited, not




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      unduly intrusive, and that it could not include written interrogatories, and

      should be tightly tailored.

10.   Attached hereto as Exhibit 6 to this declaration is the email through which

      Mr. Gorge became aware, on Sunday evening, October 22, 2023, that

      Debtor rejected its offer and intended to move to compel Mr. Gorge’s 2004

      examination seeking interrogatories, request for production of documents

      and oral testimony.

11.   I am informed and believe that Mr. Gorge worked initially for Prime Trust,

      LLC, then switched to working for Prime Digital, LLC. Mr. Gorge ceased

      working for Prime Digital, LLC in February 2021. After leaving Prime

      Digital, LLC in February 2021, Mr. Gorge ceased working for any

      company related to the Debtors, and in fact left the crytopcurrency arena,

      working instead in a different area of tech involving social networking

      software.

12.   Debtors filed bankruptcy on August 13, 2023.

13.   Debtors filed the motion for 2004 of Mr. Gorge on August 18, 2023.

14.   I reviewed the list of creditors, and the petitions in both Delaware

      Bankruptcy Court Case No. 23-11162, and Delaware Bankruptcy Court

      Case No. 23-11161 In Re Prime Core. I also reviewed Stretto, the noticing




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       agents’ list of creditors. Mr. Alec Gorge does not appear as a creditor in

       either bankruptcy, or on the noticing agents’ list of creditors.



Dated: November 2, 2023           /s/ Kathryn S. Diemer
                                  ________________________
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